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                                         #:377
                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL

Case No. 2:23-cv-9430-SVW-PDx                                      Date. August 22, 2024


Title           Robert Hunter Biden v. Patrick M. Byrne



Present: The Honorable: Patricia Donahue, United States Magistrate Judge


                  Isabel Verduzco                                     N/A
                   Deputy Clerk                             Court Reporter / Recorder

        Attorney Present for Plaintiff:               Attorneys Present for Defendant:

                   None Present                          None Present


Proceedings:            (In Chambers) Order Re Stipulation for Protective Order
                        [Dkt. No. 62]

      On August 8, 2024, the parties filed a Stipulation for Protective Order
and Proposed Order. [Dkt. No. 60.] On August 12, 2024, the Court issued an
order declining to sign the proposed protective order because it did not
contain a statement establishing good cause for its entry. [Dkt. No. 61.]

      On August 19, 2024, the parties filed a “Stipulation for Protective
Order with Good Cause Statement and Order.” [Dkt. No. 62.] Despite the
caption, the Stipulation itself does not include a statement establishing good
cause for the entry of a pretrial protective order. In In re Roman Catholic
Archbishop of Portland in Oregon, 661 F.3d 417 (9th Cir. 2011), the Ninth
Circuit explained:

        While courts generally make a finding of good cause before
        issuing a protective order, a court need not do so where (as here)
        the parties stipulate to such an order. When the protective order
        “was a stipulated order and no party ha[s] made a ‘good cause’
        showing,” then “the burden of proof ... remain[s] with the party
        seeking protection.” (citing Phillips v. Gen. Motors Corp., 307


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        F.3d 1206, 1211 n. 1 (9th Cir. 2002)). If a party takes steps to
        release documents subject to a stipulated order, the party
        opposing disclosure has the burden of establishing that there is
        good cause to continue the protection of the discovery material.
Id. at 424. Accordingly, despite the lack of a statement establishing good
cause, the Court signs the Protective Order pursuant to the parties’
stipulation.

        IT IS SO ORDERED.




                                                                  Initials of Preparer: IV
                                                                  Time in Court:




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